
PER CURIAM.
Affirmed. See § 775.082(1), Fla. Stat. (2002) ; England v. State, 940 So. 2d 389 (Fla. 2006) ; Williams v. State, 707 So. 2d 683 (Fla. 1998) ; Shortridge v. State, 884 So. 2d 321 (Fla. 2d DCA 2004) ; Dorsett v. State, 166 So. 3d 898 (Fla. 4th DCA 2015) ; Shivers v. State, 96 So. 3d 1039 (Fla. 4th DCA 2012) ; Atwater v. State, 781 So. 2d 1149 (Fla. 5th DCA 2001).
SILBERMAN, BLACK, and SMITH, JJ., Concur.
